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    1                        UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
    2                              SOUTHERN DIVISION

    3   UNITED STATES OF AMERICA,

    4                   Plaintiff,

    5       v.                                         No. 19-20246

    6   COLTON JURISIC,

    7                Defendant.
        ____________________________/
    8

    9                     INITIAL APPEARANCE AND ARRAIGNMENT

  10               BEFORE MAGISTRATE JUDGE ELIZABETH A. STAFFORD
                           United States Magistrate Judge
  11                  Theodore Levin United States Courthouse
                            231 West Lafayette Boulevard
  12                              Detroit, Michigan
                               Thursday, May 16, 2019
  13                                  1:39 p.m.

  14
        APPEARANCES:
  15
            For the Plaintiff:                 TIMOTHY WYSE
  16                                           U.S. Attorney's Office
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  19
            For the Defendant:                 STEVEN E. SCHARG
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  22

  23
            Transcribed by Leann S. Lizza, CSR-3746, CRR, RMR, CRC, RDR
  24
                 (Transcript produced from digital voice recording.
  25                Transcriber not present at live proceedings.)
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    6   Exhibits:                                                         Received

    7     (None offered.)

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    1                                                  May 16, 2019

    2                                                  Detroit, Michigan

    3                                    -    -   -

    4              THE COURT CLERK:     Calling Case Number 19-20246, United

    5   States of America versus Colton Jurisic.

    6              MR. WYSE:     Good afternoon, Your Honor.        Timothy Wyse

    7   for the United States.

    8              THE COURT:     Good afternoon.

    9              MR. SCHARG:     Good afternoon, Your Honor.        Steven

  10    Scharg on behalf of Mr. Jurisic.

  11               THE COURT:     Good afternoon.

  12               THE DEFENDANT:     Good afternoon.

  13               THE COURT:     Are you -- why don't you say your name for

  14    me.

  15               THE DEFENDANT:     Colton Jurisic.

  16               THE COURT:     Jurisic, is that correct?

  17               THE DEFENDANT:     Yeah.

  18               THE COURT:     You have the right to remain silent.

  19    Anything you say may be used against you.

  20               Mr. Jurisic, have you had the opportunity to review

  21    the indictment with the assistance of Mr. Scharg?

  22               THE DEFENDANT:     Yes.

  23               THE COURT:     Do you understand what you're charged

  24    with?

  25               THE DEFENDANT:     Yes.


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    1              THE COURT:     Do you understand if you're found guilty

    2   or plead guilty to Counts 1, 6, 10 and 14 that you are faced

    3   with 20 years in prison and a fine of up to $250,000?

    4              THE DEFENDANT:     Yes.

    5              THE COURT:     Do you understand that for Counts 2 -- no,

    6   I'm sorry.     For Counts 7, 11 and 15 that you face a two-year

    7   mandatory sentence consecutive to any other sentence and a fine

    8   of up to $250,000?

    9              THE DEFENDANT:     Yes.

  10               THE COURT:     Did I cover all the counts?

  11               MR. WYSE:     You did, Your Honor.

  12               THE COURT:     Okay.   Mr. Scharg, does Mr. Jurisic stand

  13    mute and waive formal reading?

  14               MR. SCHARG:     He does, Your Honor.

  15               THE COURT:     I'll enter a plea of not guilty.

  16               Have the parties received a copy of the Pretrial

  17    Services report?

  18               MR. SCHARG:     Yes, Your Honor.     Respectfully, we would

  19    ask that you follow the conditions set by the court in Iowa.

  20    Mr. Jurisic is from the State of Iowa.

  21               THE COURT:     Well, there are conditions described by --

  22    there are conditions imposed -- or that have been recommended

  23    by Officer McCamley here.         Did you see those?

  24               MR. SCHARG:     Yes, Your Honor.

  25               THE COURT:     So you're -- well, I'll ask Mr. Wyse, what


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    1   is your position regarding these conditions?

    2              MR. WYSE:    I have actually not seen the pretrial

    3   report for this individual, Your Honor.           But we would be

    4   recommending the exact same package conditions that are imposed

    5   on his co-defendants earlier.

    6              THE COURT:    I want to deal with what she recommended.

    7   We can talk about additional --

    8              MR. WYSE:    Sorry, Your Honor.

    9              THE COURT:    It's at the bottom of page 2 and top of

  10    page 3.    Oh, yeah.    I forgot.    I did, yeah.

  11               MR. WYSE:    Your Honor, the government would ask to

  12    monitor condition 5, denying all smartphone use.             We would like

  13    to add in no use of the personal identifying information of

  14    another and we would like to add GPS monitoring.             And that

  15    would begin to bring him in line with the previous

  16    co-defendants.

  17               THE COURT:    I did talk to Officer McCamley before we

  18    started and what she told me is that some districts do have the

  19    ability to monitor smartphones.

  20               MR. WYSE:    Uh-huh.

  21               THE COURT:    So my thought was that if the smartphone

  22    could be monitored in Iowa, then that would be sufficient.                 If

  23    not, then no smartphone.

  24               MR. WYSE:    That would be -- yes, the government

  25    agrees, Your Honor.


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    1              MR. SCHARG:     That's fine, Your Honor, because my

    2   client currently is -- they allowed him to have a phone only

    3   for texting and communicating verbally on the phone.              He had to

    4   wipe out all his Internet.        Everything else on his smartphone

    5   was deleted and they approved of that.           Because he's 19, he

    6   lives at home, he doesn't have a driver's license, doesn't

    7   drive, so that's his main means of communication.

    8              THE COURT:    There is a -- Officer McCamley, do you

    9   want to talk about the searching provision in Iowa?

  10               MS. MCCAMLEY:     Yes, Your Honor, Heather McCamley on

  11    behalf of Pretrial Services.        It appears that some of the

  12    conditions that he was released on in Iowa include a search

  13    condition of his residence and/or computers.

  14               THE COURT:    And vehicle you said, right?

  15               MS. MCCAMLEY:     And vehicle.      The condition in our

  16    district does read with vehicle.         The question is whether or

  17    not this court would like to impose a search condition.               Iowa

  18    already has imposed that condition; however, our Pretrial

  19    Services Department here does not have the ability to do the

  20    search.

  21               THE COURT:    But since Iowa has the ability to do the

  22    search, then the Pretrial Services in Iowa could at any time

  23    search the defendant's smartphone to see where he's altered it

  24    to be able to use the Internet then?

  25               MS. MCCAMLEY:     Correct, Your Honor.


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    1              THE COURT:     Are you comfortable with that, Mr. Wyse?

    2              MR. WYSE:     I am, Your Honor.

    3              THE COURT:     Mr. Scharg?

    4              MR. SCHARG:     Yes, Your Honor.     That's why I asked for

    5   the same conditions I thought as Iowa's was.           I thought it was

    6   pretty strict.

    7              THE COURT:     Is there anything else, Mr. Wyse?

    8              MR. WYSE:     Again, we would also request the GPS

    9   monitoring be imposed.

  10               THE COURT:     Right.     I understand that.

  11               MR. WYSE:     Nothing else, Your Honor.

  12               THE COURT:     Mr. Scharg?

  13               MR. SCHARG:     I understand the Court's ruling with the

  14    other ones on the GPS.       Personally I don't think it's needed

  15    for my client, but if the Court's going to make that ruling, I

  16    understand why.

  17               THE COURT:     Thank you.

  18               All right.     Mr. Jurisic, I'm going to release you on

  19    an unsecured bond with the following conditions.             First, you

  20    have to report to Pretrial Services.           Do you understand that?

  21               THE DEFENDANT:     Yes.

  22               THE COURT:     You must continue or actively seek

  23    employment.     Do you understand that?

  24               THE DEFENDANT:     Can you repeat that?

  25               THE COURT:     You must continue employment or actively


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    1   seek it.    Do you understand that?

    2              THE DEFENDANT:     Yes, yes.

    3              THE COURT:    We want you working.

    4              THE DEFENDANT:     Yeah.

    5              THE COURT:    Your travel is restricted to the Eastern

    6   District of Michigan and the Northern District of Iowa for

    7   court purposes only.       Do you understand that?           Well, the

    8   Eastern District of Michigan is for court and attorney's visits

    9   only.    Do you understand that?

  10               THE DEFENDANT:     Yes.

  11               THE COURT:    You -- if you want to travel outside of

  12    the Eastern District of Michigan or the Northern District of

  13    Iowa, you should get prior permission from your Pretrial

  14    Services officer.       Do you understand that?

  15               THE DEFENDANT:     Yes.

  16               THE COURT:    And you should get maps of the Eastern

  17    District of Michigan and of Northern District of Iowa so that

  18    you know the boundaries.       That way you won't accidentally

  19    travel outside of those boundaries.            Do you understand that?

  20               THE DEFENDANT:     Yes.

  21               THE COURT:    You must avoid all contact directly or

  22    indirectly with any person who is or may become a victim or

  23    witness in the investigation or prosecution including all

  24    co-defendants, any co-defendants that were included on a

  25    complaint or indictment.       Do you understand that?


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    1              THE DEFENDANT:     Yes.

    2              THE COURT:    And do you understand that "avoid all

    3   contact, direct or indirect" means no text messaging, no

    4   e-mailing, no calling, no sending a message through a friend?

    5   You understand that there's just no effort to communicate with

    6   any of those individuals?       You understand that?

    7              THE DEFENDANT:     Yes.

    8              THE COURT:    You must agree to participate in a

    9   computer restriction or monitoring program and abide by all

  10    rules and requirements of the program which will not permit

  11    access to the Internet and that will require the installation

  12    of monitoring software by the Pretrial Services office or

  13    supervising officer on any computer you have access to

  14    including your phone, your cell phone.           Do you understand that?

  15               THE DEFENDANT:     Yes.

  16               THE COURT:    I understand that your phone has been

  17    stripped of all software except that you can make a phone call

  18    and what else?     And text message?

  19               MR. SCHARG:    Text message.

  20               THE COURT:    You understand you can't alter that phone?

  21               THE DEFENDANT:     Yes.

  22               THE COURT:    You understand that Pretrial Services will

  23    have the ability to search your home and any of your devices

  24    without advanced notice?

  25               THE DEFENDANT:     Yes.


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    1               THE COURT:     Do you understand that?

    2               THE DEFENDANT:     Yes.

    3               THE COURT:     You must submit to GPS monitoring with the

    4    curfew imposed by your Pretrial Services officer.              Do you

    5    understand that?

    6               THE DEFENDANT:     Yes.

    7               THE COURT:     Your Pretrial Services officer will assess

    8    your ability to contribute to the cost of the GPS monitoring

    9    and you must pay whatever you're told you have to pay.               You

   10    understand that?

   11               THE DEFENDANT:     Yes.

   12               THE COURT:     You may not use any other person's

   13    personal identifying information.          Do you understand that?

   14               THE DEFENDANT:     Yes.

   15               THE COURT:     If you fail to appear as direct -- first

   16    of all, did I capture all of the --

   17               MR. WYSE:     I believe so, Your Honor.         Did you ask him

   18    about his passport?       I may have missed that.

   19               THE COURT:     You know, that's -- I don't think that

   20    that is actually on here.

   21               MR. SCHARG:     He does not have a passport, Your Honor.

   22               THE COURT:     Okay.     Well, I will say -- I'll ask you,

   23    Mr. Jurisic, do you have a passport, any other international

   24    travel document?

   25               THE DEFENDANT:     No.


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    1               THE COURT:     All right.   You may not obtain a new

    2    passport or other international travel document.             Do you

    3    understand that?

    4               THE DEFENDANT:     Yes.

    5               THE COURT:     If you fail to appear as directed, that's

    6    a crime punishable with a sentence of imprisonment.             Do you

    7    understand that?

    8               THE DEFENDANT:     Yes.

    9               THE COURT:     If you violate any of the conditions of

   10    your bond, you could be jailed pending trial or sentencing.                Do

   11    you understand that?

   12               THE DEFENDANT:     Yes.

   13               THE COURT:     And if you commit any new crimes while

   14    you're on pretrial release, the sentence you face for those new

   15    crimes will be higher than if you committed the same crimes

   16    otherwise.    Do you understand that?

   17               THE DEFENDANT:     Yes.

   18               THE COURT:     Okay.   This case is assigned to

   19    Judge Denise Page Hood and she will schedule all future dates.

   20               Mr. Scharg, is there anything else you need to do

   21    today?

   22               MR. SCHARG:     No, Your Honor.

   23               THE COURT:     Mr. Wyse, anything else?

   24               MR. WYSE:     No, Your Honor.      Thank you.

   25       (Proceedings concluded, 1:50 p.m.)


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    1                           CERTIFICATION OF REPORTER

    2

    3       I, Leann S. Lizza, do hereby certify that the above-entitled

    4    matter was taken before me at the time and place hereinbefore

    5    set forth; that the proceedings were duly recorded by me

    6    stenographically and reduced to computer transcription; that

    7    this is a true, full and correct transcript of my stenographic

    8    notes so taken; and that I am not related to, nor of counsel to

    9    either party, nor interested in the event of this cause.

   10

   11

   12    S/Leann S. Lizza                                           6-26-2019

   13    Leann S. Lizza, CSR-3746, RPR, CRR, RMR, RDR               Date

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